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                              ASSIGNMENT AND ASSUMPTION AGREEMENT

        THIS ASSIGNMENT AND ASSUMPTION AGREEMENT (this “Assignment”), dated
effective as of June 14, 2021, is entered into by and between BE-AVIV 286 RIDER LLC
(“Assignor”), and 286 RIDER AVE LENDER LLC (“Assignee”).

                                           W I T N E S S E T H:

        WHEREAS, Assignor is the sole member of 286 Rider Ave Acquisition LLC, a New York
limited liability company (the “Company”), which Company is governed by that certain Limited
Liability Company Agreement of Company, dated August 15, 2019 (the “Company
Agreement”);

        WHEREAS, Assignor desires to convey to Assignee all of the limited liability company
interests in the Company (the “Interest”);

         WHEREAS, Assignor desires to assign, transfer and convey to Assignee (a) all of
Assignor’s right, title and interest in the Interest and (b) all of Assignor’s right, title and interest
in, to and under the Company Agreement with respect to the Interest, including, without limitation,
all of Assignor’s right, title and interest in, to and under, with respect to the Interest, (i)
distributions after the date hereof of profits and income of the Company, (ii) capital distributions
after the date hereof from the Company, (iii) distributions after the date hereof of cash flow by the
Company, (iv) assets of the Company to which Assignor now or in the future may be entitled, (v)
other claims which Assignor now has or may in the future acquire against the Company and its
assets, (vi) proceeds of any liquidation upon the dissolution of the Company and winding up of its
affairs,(vii) repayments after the date hereof of any and all loans made by Assignor to the
Company, whether pursuant to the terms of the Company Agreement or otherwise, (viii) general
intangibles for money due or to become due from the Company, (ix) other rights of Assignor to
receive any distributions or other payments of any kind whatsoever from or in respect of the
Company or in any way derived from the assets of the Company or from the ownership or
operation thereof, whether any of the above distributions consist of money or property, (x) all other
rights of Assignor as a member in the Company including, without limitation, rights to reports,
accounting, information and voting (together with the Interest, collectively, the “Assigned
Interest” ).

            WHEREAS, the Assignee desires to acquire the Assigned Interest.

       NOW, THEREFORE, the undersigned, in consideration of the Assigned Interest,
covenants and agreement contained herein, and for other good and valuable consideration, do
hereby agree as follows:

        1.      Assignment. For value received, the receipt and sufficiency of which are hereby
acknowledged, upon the execution of this Assignment by the parties hereto, Assignor does hereby
assign, transfer and convey the Assigned Interest to Assignee, free and clear of all liens, claims,
encumbrances, options and rights of any kind.




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        2.     Assumption. Assignee hereby assumes and agrees to be bound by all of the
covenants, obligations, liabilities, and burdens of Assignor with respect to the Assigned Interest
and as a member of the Company.

        3.       Representations and Warranties. Assignor represents and warrants with respect to
the Company, that as of the date hereof, Assignor owns one hundred percent (100%) of the Interest,
free and clear of any liens, encumbrances, claims, demands, options, rights to purchase, security
interests or liabilities of any kind or nature. Each of the parties hereto represents and warrants to
the other party that all consents and acknowledgements required in connection with this Agreement
under the Company Agreement and any other agreements, laws, regulations, rules or orders have
been obtained.

        4.    Further Assurances. The parties hereto each covenant and agree to hereafter execute
and acknowledge any and all agreements, contracts, verifications and other such other additional
instruments and documents as may be reasonably requested by the other party hereto in furtherance
of this Agreement or to carry out the intent hereof.

        5.      Successors and Assigns; No Third-Party Beneficiaries. The stipulations, terms,
covenants and agreements contained in this Agreement shall inure to the benefit of, and shall be
binding upon, the parties hereto and their respective permitted successors and assigns (including
any successor entity after a public offering of stock, merger, consolidation, purchase or other
similar transaction involving a party hereto) and nothing herein expressed or implied shall give or
be construed to give to any person or entity, other than the parties hereto and such assigns, any
legal or equitable rights hereunder.

        6.      Binding Effect. This Assignment shall be binding upon, and shall inure to the
benefit of the parties hereto and their respective successors and assigns.

        7.     Governing Law. This Assignment shall be governed by and construed in
accordance with the laws of the State of New York without giving effect to conflicts of law
principles. Any dispute or litigation that may arise with respect to this Assignment shall be brought
and prosecuted exclusively in any federal or state court located in New York County, City of New
York, State of New York and each of the parties hereby submits to the exclusive jurisdiction of
such courts; provided, that a final judgment in any such litigation shall be conclusive and may be
enforced in other jurisdictions by suit on the judgment or in any other manner provided by law.

        8.      Section Headings. The captions and section headings in this Assignment are for
convenience only and in no way define, limit, extend or describe the scope or intent of any of the
provisions hereof, shall not be deemed a part of this Assignment and shall not be used in construing
or interpreting this Agreement.

        9.     Entire Agreement. This Assignment constitutes the complete agreement among the
parties hereto with respect to the subject matter hereof and may not be modified, altered or
amended except by a written agreement signed by the parties hereto.
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        10.    Severability. If any term or provision of this Assignment or the application thereof
to any person or circumstances shall, to any extent, be invalid or unenforceable, the remainder of
this Assignment or the application of such term or provision to persons or circumstances other than
those as to which it is held invalid or unenforceable shall not be affected thereby, and each term
and provision of this Assignment shall be valid and enforceable to the fullest extent permitted by
law.

        11.    Counterparts. This Assignment may be executed in one or more counterparts,
including transmission by facsimile or electronic (email) signature, each of which shall be deemed
an original and all of which, taken together, shall be construed as a single instrument.

                                  [remainder of page intentionally left blank]




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       IN WITNESS WHEREOF, the parties have caused this Assignment to be executed by their
duly authorized representatives on the date set forth below.

                                                 ASSIGNOR:

                                                 BE-AVIV 286 RIDER LLC



                                                 By: ____________________________
                                                 Name: Ben Harlev
                                                 Title: Authorized Signatory


                                                 ASSIGNEE:

                                                 286 RIDER AVE LENDER LLC



                                                 By: ____________________________
                                                 Name: Eyal Epstein
                                                 Title: Authorized Signatory




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